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  Mark Miller (#9563)                                   Mike Keyes (admitted pro hac vice)
  Brett Foster (#6089)                                  DORSEY & WHITNEY LLP
  Tamara Kapaloski (#13471)                             701 Fifth Avenue, Suite 6100
  DORSEY & WHITNEY LLP                                  Seattle, WA 98104-7043
  111 S. Main Street, Suite 2100                        Telephone: (206) 903-8800
  Salt Lake City, UT 84111                              Facsimile: (206) 903-8820
  Telephone: (801) 933-7360                             keyes.mike@dorsey.com
  Facsimile: (801) 933-7373
  miller.mark@dorsey.com
  foster.brett@dorsey.com
  kapaloski.tammy@dorsey.com

 Attorneys for Plaintiff/Counterclaim Defendant Instructure, Inc.


                          UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


  INSTRUCTURE, INC., a Delaware                           PLAINTIFF’S REPLY TO
  corporation,                                            DEFENDANT’S RESPONSE TO
                                                          ORDER TO SHOW CAUSE
            Plaintiff/Counterclaim-Defendant,

  vs.                                                     Civil No. 2:21-cv-00454-DAK-CMR

  CANVAS TECHNOLOGIES, INC., a                            Judge Dale A. Kimball
  Delaware corporation,
                                                          Magistrate Judge Cecilia M. Romero
            Defendant/Counterclaim-Plaintiff.



          Plaintiff Instructure, Inc. (“Instructure”) respectfully provides the following brief reply to

 the Response and Declaration (Dkt. 94, 95) filed by Defendant Canvas Technologies, Inc.

 (“Defendant”) to the Court’s Order to Show Cause (Dkt. 88).

          Defendant does not dispute that the elements of contempt are met here—i.e., a valid

 preliminary injunction order (Dkt 74, “PI Order”) exists, Defendant has been aware of the PI

 Order since the day it issued, and Defendant is not in compliance with the PI Order. Instead,




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 Defendant attempts to excuse its noncompliance by asserting that it is in “substantial

 compliance” and that full and timely compliance was “plainly and unmistakably” impossible.

 Dkt. 94 at 7-8. Quite to the contrary, Defendant’s excuses only reveal its contempt for the

 Court’s authority by self-servingly reframing the Court’s PI Order into something that it is not.

 The truth is Defendant is not close to substantial compliance and has not demonstrated by clear

 and convincing evidence that compliance was impossible.

          The PI Order required Defendant to “remove all internet posts, pictures, or other material

 (including but not limited to on Defendant’s websites, Facebook, Twitter, Instagram, YouTube

 and other social media pages) that display the Canvas Mark in any manner.” PI Order at 42

 (Dkt. 74). Yet rather than removing its infringing use of Canvas from its online platforms,

 Defendant believes it is entitled to first engage in its “pre-work” and “domain warming”

 processes to ensure a smooth transition and keep company morale high. Gefkovicz Decl. at ¶¶

 19-23, 28-29 (Dkt. 95). Defendant purports to excuse its noncompliance by unilaterally claiming

 the right to “complete a rebranding of our business … without interrupting services” by

 conducting multiple “trademark clearance searches” and evaluating and vetting several potential

 new company names in order to select a new trademark that will provide Defendant its most

 comfortable and least disruptive path forward regardless of the timing imposed by the Court. Id.

 at ¶¶ 7-15, 28. But this is not evidence of compliance, as none of this is required by the PI

 Order. Nothing Defendant has presented suggests it could not have timely removed the Canvas

 Mark from its online platforms, as required by the PI Order.

          Defendant presents the Court with carefully crafted screen shots of its website content

 where it has removed “Canvas” from some text. Dkt. 94 at 4-5. But carefully hidden in a




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 footnote is the fact that the Canvas Mark remains unchanged at the top of every one of those

 pages, simply because Defendant does not want to change “the name CANVAS in the top

 banner” until “a new company name is finalized.” Id. at 3, n.2.

         Gefkovicz Decl., ¶ 24                             www.canvas.com




                                       https://www.canvas.com/




                                       https://www.canvas.com/candidates




                                       https://www.canvas.com/candidates




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         Gefkovicz Decl., ¶ 24                              www.canvas.com




                                        https://www.canvas.com/team




                                        https://www.canvas.com/blog

          In addition, all of Defendant’s social media remains branded with the Canvas Mark.

                      FACEBOOK                                    TWITTER




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          INSTAGRAM                                     YOUTUBE




          Incredibly, Defendant affirmatively posted new content on its LinkedIn account under the

 Canvas Mark at least 20 times after the January 20, 2002 compliance deadline passed, including

 the two examples below.




 https://www.linkedin.com/company/joincanvas/posts/?feedView=all

          It is nothing short of outrageous for Defendant to characterize its minor edits to some of

 its online content as “substantial compliance” when the Canvas Mark continues to headline its

 entire online presence. Mr. Gefkovicz’s declaration does not say Defendant could not have

 removed the Canvas Mark entirely from its website and social media in compliance with the PI




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 Order, even if that meant deactivating some social media accounts temporarily. 1 But Defendant

 has already presented this Court and the Tenth Circuit with its rebranding justification for non-

 compliance in the context of its two emergency stay motions, Dkt. 79-80, both of which were

 denied, Dkt. 84-90. For Defendant to now double down on its demand that it is entitled to

 pursue its rebranding processes on its own terms and timeline before full compliance with the PI

 Order reveals a brazen lack of respect for this Court’s authority that is rarely seen.

          Any temporary disruption or discomfort Defendant would encounter due to immediate

 compliance with the PI Order is a self-imposed hardship stemming from its willful trademark

 infringement and does not excuse Defendant’s contempt. See GMC v. Urban Gorilla, LLC, 500

 F.3d 1222, 1229 (10th Cir. 2007) (“[W]hen the case for infringement is clear, a defendant cannot

 avoid a preliminary injunction by claiming harm to a business built upon that infringement.”);

 Equitable Nat’l Life Ins. Co. v. AXA Equitable Life Ins. Co., 434 F. Supp. 3d 1227, 1255 (D.

 Utah 2020) (“[C]ourts afford little weight to self-inflicted harms” claimed by trademark

 infringers). Specifically, Defendant adopted the Canvas Mark with full knowledge of

 Instructure’s trademark rights, which Defendant has admitted causes a likelihood of confusion

 with Instructure’s “strong” trademark, 2 and Defendant did this knowing it did not have priority

 trademark rights. As the Court is aware, Defendant’s acquisition of Colby Smith’s irrelevant

 trademark rights was an ill-advised afterthought and reaction to Instructure’s demand letter—


 1
   Defendant has a mere 140 YouTube subscribers, 400 Instagram followers, 90 Facebook
 followers, and 85 Twitter followers. Any temporary disruption or pause of Defendant’s social
 media is not going to materially harm anyone.
 2
   See Dkt. 27 at 17, 19 (“Instructure argues that a likelihood of confusion exists. Canvas agrees
 …”; “Canvas agrees with Instructure that the CANVAS mark is conceptually and commercially
 strong…”).



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 Defendant did not own any prior rights when it chose to infringe the Canvas Mark. Defendant

 could have responded to Instructure’s demand letter by agreeing to rebrand back in June 2021,

 when Defendant may have had the luxury of creating its plans, organizing focus groups, vetting

 multiple possible brands, and implementing its purportedly crucial “domain warming” processes.

 But the circumstances following the Court’s PI Order are not the same as existed then. Given the

 strong record of willful trademark infringement that already exists in this case, Defendant’s

 complaints about the hardship of timely compliance—e.g., how reverting to an old brand is

 “something we try to avoid” and that Defendant no longer likes the JUMPSTART name—should

 fall on deaf ears. Gefkovicz Decl. at ¶¶ 25-29.

          The inadequacy of Defendant’s excuses is underscored by the glaring omission of any

 assurance to the Court and Instructure of an actual date certain on which Defendant will finally

 be in compliance with the PI Order. All Defendant states is that it has created a plan to comply

 on some future day, but it does not give any clue as to when this day will be. Id. at ¶ 19. Worse

 yet, Defendant says that its rebranding process is organized into two phases, and that it has not

 even completed the first half of Phase I. Id. at ¶¶ 15-16. Defendant admits it has still not chosen

 a new company name, and Defendant’s “domain warming process” comes after that and

 supposedly “takes at least 30 days.” Id. at ¶ 29. It is clear that Defendant’s compliance with the

 PI Order will not occur anytime soon.

          In sum, Mr. Gefkovicz’s declaration amounts to Defendant telling the Court that

 Defendant will pursue the course of action that it chooses after full vetting of all rebranding

 options in a manner that ensures the most beneficial and smooth rebranding process it can

 achieve, and that the Court’s PI Order is secondary to those considerations. Defendant is in




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 contempt of the PI Order, and it has not come close to establishing substantial compliance.

 Instead, its conduct and excuses reveal a troubling lack of respect for this Court’s authority.

 Contrary to Defendant’s self-serving argument, Dkt. 94 at 9, its own admissions show that there

 is a compelling need for both coercive and compensatory sanctions. In fact, only the most severe

 sanctions will be adequate to ensure that Defendant does not approach this Court’s orders with a

 cavalier attitude that places them secondary to Defendant’s preferred course of action and

 timeline.

          Regarding compensatory sanctions, awarding Instructure its attorneys’ fees is appropriate

 here. See Bad Ass Coffee Co. v. Bad Ass Coffee P’ship, 95 F. Supp. 2d 1252, 1257 (D. Utah

 2000) (awarding attorneys’ fees as sanction for contempt of preliminary injunction); Phone

 Directories Co., Inc. v. Clark, 209 Fed. Appx. 808, 816 (10th Cir. 2006) (affirming contempt

 finding and award of fees as sanction). At a minimum, the Court should award Instructure the

 fees incurred in investigating and initiating the present contempt proceedings. In addition,

 because Defendant’s willful infringement continues to this day and its noncompliance with the

 PI Order is deliberate and calculated, the irreparable harm to Instructure and its trademark rights

 is ongoing and Instructure has yet to enjoy any relief from the large investment it made to pursue

 the preliminary injunction motion. It would, therefore, be appropriate to also award the fees and

 costs Instructure incurred in the preliminary injunction proceedings.

          With regard to coercive sanctions, given Defendant’s bold message that its

 noncompliance with the PI Order will continue indefinitely until it decides it is comfortable with

 a rebranding strategy, the Court should impose a daily, significant monetary sanction that will

 compel Defendant’s compliance. See, e.g., Premium Nutritional Prods. v. Ducote, 571 F. Supp.




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 2d 1216, 1221 (D. Kan. 2008) (“Because the infringing conduct continues unabated, the Court

 finds that it is appropriate to impose a coercive fine for each day that the contempt continues.”).

 When crafting an appropriate amount that will have the desired effect of compelling compliance,

 the Court should take into consideration the fact that Defendant has recently been infused with

 $70 million in new funding, 3 so it is entirely possible that Defendant has made a calculated

 business decision to place its rebranding plans above compliance with the PI Order by simply

 building in the potential cost of contempt sanctions. 4

          Finally, to impose an additional incentive toward compliance, the Court could also order

 that if Defendant is not in full compliance with the PI Order within one week, the Court will

 apply terminating sanctions.

                    When considering whether to issue terminating sanctions against a
                    party [for contempt], “a district court should ordinarily consider
                    the following factors: (1) the degree of actual prejudice to the
                    [plaintiff]; (2) the amount of interference with the judicial process;
                    (3) the culpability of the litigant; (4) whether the court warned the
                    party in advance that dismissal of the action would be a likely
                    sanction for noncompliance; and (5) the efficacy of lesser
                    sanctions.” “These factors do not constitute a rigid test; rather,



 3
   Dkt. 14-19 (press release reporting $20 million in new funding in May 2021); Dkt. 38 at 2, n.3
 (citing Forbes article reporting $50 million in funding in September 2021)
 4
   Defendant tries to cloak itself in good faith by citing its reliance on advice of counsel
 throughout its rebranding processes. See Gefkovicz Decl. at ¶¶ 11-13. Consequently, Defendant
 has waived the privilege for all attorney-client communications and work product relating to
 Defendant’s rebranding efforts. See, e.g., U.S. v. Koerber, 2013 WL 2407662, *3 (D. Utah May
 31, 2013) (“As the Tenth Circuit has noted, by raising an advice-of-counsel defense, a party
 thereby waives the attorney-client privilege regarding the advice counsel has given the party on
 the issue.”). The Court should order Defendant to produce all counsel advice and
 communications regarding trademark clearance searches, rebranding, and the PI Order, including
 Defendant’s original adoption of the Canvas Mark to determine whether Defendant actually
 proceeded contrary to the advice it was given.



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                     they represent criteria for the district court to consider prior to
                     imposing dismissal as a sanction.”

  TFG-Michigan, L.P. v. Boersen Farms Grain, 2017 U.S. Dist. LEXIS 161170, *7-8 (D. Utah

  2017) (quoting Norouzian v. Univ. of Kan. Hosp. Auth., 438 Fed Appx 677, 679 (10th Cir. 2011)

  and Ehrenhaus v. Reynolds, 965 F.2d 916, 921 (10th Cir. 1992)). The record here supports

  terminating sanctions.

           First, the Court has repeatedly found that the actual harm to Instructure is “significant” as

  Defendant continues “to trade off the goodwill and reputation that Instructure built” and refuses

  to comply with the PI Order. Dkt. 74 at 29; Dkt. 84 at 5-6. Second, Defendant’s contempt has

  interfered with the judicial process by necessitating these contempt proceedings. Third, it cannot

  be refuted that Defendant is entirely culpable for its noncompliance and contemptuous conduct.

  Fourth, the day before Defendant’s compliance was mandated under the PI Order, the Court

  warned Defendant that “it is required to comply with the preliminary injunction enjoining it from

  using the canvas mark by January 20, 2022 unless a stay on the preliminary injunction is

  entered.” Dkt. 84 at 1. As the Court knows, no such stay has ever been entered by this Court or

  the Tenth Circuit. Fifth, while it remains to be seen, Defendant’s conduct to date and its recent

  infusion of cash suggests monetary sanctions alone would not be sufficient to compel

  Defendant’s compliance and instill a sense of respect for this Court’s orders.

           Accordingly, consideration of the factors above indicates terminating sanctions are

  warranted, and that the Court should strike Defendant’s answer and enter final judgment in




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  Instructure’s favor on all claims, which should include an order compelling Defendant to assign

  the www.canvas.com domain to Instructure. 5

           Instructure respectfully asks the Court to hold Defendant in contempt of the PI Order and

  impose appropriate compensatory and coercive sanctions.



  DATED this 7th day of February, 2022



                                                       DORSEY & WHITNEY LLP

                                                       /s/ Mark A. Miller
                                                       Mark Miller (#9563)
                                                       Brett Foster (#6089)
                                                       Mike Keyes (admitted pro hac vice)
                                                       Tamara L. Kapaloski (#13471)

                                                       Attorneys for Plaintiff/Counterclaim-
                                                       Defendant Instructure, Inc.




  5
   “[T]ransfer of the domain name to the owner of the mark” is a remedy for Instructure’s
  cybersquatting claim. See 15 U.S.C. § 1125(d)(1)(C); Complaint at 27-28. See also Morrison &
  Foerster LLP v. Wick, 94 F. Supp. 2d 1125, 1129-30 (D. Colo. 2000) (“The ACPA allows me to
  order the … transfer of the domain name to the owner of the mark.”) (cleaned up).



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                                      CERTIFICATE OF SERVICE


           I hereby certify that on the 7th day of February, 2022, a true and correct copy of the

  foregoing document was served on counsel of record via the Court’s ECF system.

           Sterling A. Brennan: sbrennan@mabr.com
           Charles J. Veverka: cveverka@mabr.com
           Peter J. Willsey: pwillsey@brownrudnick.com
           Vincent J. Badolato: vbadolato@brownrudnick.com
           Jason M. Sobel: jsobel@brownrudnick.com
           Stephanie P. Calnan: scalnan@brownrudnick.com



                                                                    /s/ Mark Miller




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